        Case 6:14-bk-22317-SY                              Doc 174 Filed 08/09/19 Entered 08/09/19 15:15:24                                                         Desc
                                                            Ch 13 Discharge Page 1 of 2
Information to identify the case:
Debtor 1                  Jerry Martinez Felix                                                                 Social Security number or ITIN         xxx−xx−6114

                          First Name    Middle Name      Last Name                                             EIN    _ _−_ _ _ _ _ _ _

Debtor 2                  Karen Dee Felix                                                                      Social Security number or ITIN         xxx−xx−8171
(Spouse, if filing)
                          First Name    Middle Name      Last Name                                             EIN    _ _−_ _ _ _ _ _ _

United States Bankruptcy Court Central District of California

Case number: 6:14−bk−22317−SY




Order of Discharge − Chapter 13                                                                                                                                               12/18


IT IS ORDERED: A discharge under 11 U.S.C. § 1328(a) is granted to:

             Jerry Martinez Felix                                                                 Karen Dee Felix
              [include all names used by each debtor, including trade names, within the 8 years    [include all names used by each debtor, including trade names, within the 8 years
             prior to the filing of the petition]                                                 prior to the filing of the petition]

             Debtor 1 Discharge Date: 8/9/19                                                      Debtor 2 Discharge Date: 8/9/19

             Dated: 8/9/19                                                                        By the court:                Scott H. Yun
                                                                                                                               United States Bankruptcy Judge




Explanation of Bankruptcy Discharge in a Chapter 13 Case
This order does not close or dismiss the case.         Most debts are discharged
                                                       Most debts are covered by the discharge, but not all.
                                                       Generally, a discharge removes the debtors' personal
Creditors cannot collect discharged debts              liability for debts provided for by the chapter 13 plan.
This order means that no one may make any                                                In a case involving community property: Special rules
attempt to collect a discharged debt from the                                            protect certain community property owned by the debtor's
debtors personally. For example, creditors cannot                                        spouse, even if that spouse did not file a bankruptcy
sue, garnish wages, assert a deficiency, or                                              case.
otherwise try to collect from the debtors personally
on discharged debts. Creditors cannot contact the                                        Some debts are not discharged
debtors by mail, phone, or otherwise in any                                              Examples of debts that are not discharged are:
attempt to collect the debt personally. Creditors
who violate this order can be required to pay                                                     ♦ debts that are domestic support obligations;
debtors damages and attorney's fees.
However, a creditor with a lien may enforce a                                                     ♦ debts for most student loans;
claim against the debtors' property subject to that
lien unless the lien was avoided or eliminated. For
example, a creditor may have the right to foreclose                                               ♦ debts for certain types of taxes specified in 11
a home mortgage or repossess an automobile.                                                         U.S.C. §§ 507(a)(8)( C), 523(a)(1)(B), or
                                                                                                    523(a)(1)(C) to the extent not paid in full under
This order does not prevent debtors from paying                                                     the plan;
any debt voluntarily. 11 U.S.C. § 524(f).


                                                                                                                                                                            174/SRG
                                                                                                                           For more information, see page 2 >


Form 3180W−doa3                                                           Order of Chapter 13 Discharge                                                   page 1
     Case 6:14-bk-22317-SY        Doc 174 Filed 08/09/19 Entered 08/09/19 15:15:24                        Desc
                                   Ch 13 Discharge Page 2 of 2




      ♦ debts that the bankruptcy court has                           ♦ debts for restitution, or damages,
        decided or will decide are not discharged                       awarded in a civil action against the
        in this bankruptcy case;                                        debtor as a result of malicious or willful
                                                                        injury by the debtor that caused
                                                                        personal injury to an individual or the
      ♦ debts for restitution, or a criminal fine,                      death of an individual; and
        included in a sentence on debtor's criminal
        conviction;
                                                                      ♦ debts for death or personal injury
                                                                        caused by operating a vehicle while
      ♦ some debts which the debtors did not                            intoxicated.
        properly list;

                                                               In addition, this discharge does not stop
      ♦ debts provided for under 11 U.S.C. §                   creditors from collecting from anyone else who
        1322(b)(5) and on which the last payment               is also liable on the debt, such as an insurance
        or other transfer is due after the date on             company or a person who cosigned or
        which the final payment under the plan                 guaranteed a loan.
        was due;


      ♦ debts for certain consumer purchases                    This information is only a general
        made after the bankruptcy case was filed if             summary of a chapter 13 discharge; some
        obtaining the trustee's prior approval of               exceptions exist. Because the law is
        incurring the debt was practicable but was              complicated, you should consult an
        not obtained;                                           attorney to determine the exact effect of
                                                                the discharge in this case.




Form 3180W−doa3                            Order of Chapter 13 Discharge                         page 2
